
By the Court.

Held:

1. That Anna W. is entitled to dower in the north twenty-five acres, but not in said twenty-nine acres. See Revised Statutes, 5799 ; Scribner on Dower, p. 311, et seq., (1st ed.), 20 Ohio St., 454 ; 44 Ohio St. 645 ; 4 Bull. 645.
2. That said -Mary C. is entitled to dower in said twenty-five acres subject to said dower right of Anna W., and, in case she survives said Mary King, will be entitled to have her dower assigned also in said twenty-nine acres, but, under the last clause of section 4188, Revised Statutes, cannot have it assigned now.
3. That the assignment of the dower of said Mary C. should be so made as not to include any part assigned to said Anna W., and that in order to ascertain how much land should be allotted to Mary C. in respect to that part of said land so to be assigned to Anna W., said commissioners should make valuations of the land, and have recourse to tables showing the value of the chances of survivorship between two lives similar to those appended to 2 Scribner on Dower, p. 468.
4. The partition of the entire fifty-four acres after the assignment of said dower, will now be made subject to said dower, the assignments of said Mary, Mary C., and Anna W.
